         Case 6:23-cr-00330-MC          Document 35       Filed 07/16/24      Page 1 of 2




DAVID H. ANGELI, OSB No. 020244
david@angelilaw.com
MICHELLE KERIN, OSB No. 965278
michelle@angelilaw.com
AMY E. POTTER, OSB No. 231794
amy@angelilaw.com
AMANDA A. THIBEAULT, OSB No. 132913
amanda@angelilaw.com
ANGELI LAW GROUP LLC
121 SW Morrison Street, Suite 400
Portland, OR 97204
Telephone: (503) 954-2232
Facsimile: (503) 227-0880

Attorneys for Defendant Samuel Landis

                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON



  STATE OF OREGON                                     Case No. 6:23-cr-00330-MC

          vs.                                         UNOPPOSED MOTION TO
                                                      EXCLUDE TIME
  SAMUEL TROY LANDIS

                  Defendant.




       COMES NOW, Defendant Samuel Troy Landis, by and through counsel, and moves this

court for an order excluding nine days, from July 10 to July 19, 2024, under the Speedy Trial Act

from. The need for this additional time is outlined in more detail in the declaration of Michelle

Holman Kerin, filed with this motion. But generally, the time is needed to prepare Special Agent

Landis’ Motion to Dismiss based on the Supremacy Clause of the United States Constitution.

July 19, 2024, is the stipulated deadline for the defendant to file his Motion to Dismiss this case.

ECF No. 34. The State does not oppose this Motion.

MOTION TO EXCLUDE TIME                                                                   Page 1 of 2
         Case 6:23-cr-00330-MC         Document 35       Filed 07/16/24     Page 2 of 2




       In terms of granting the delay, “The ends of justice served by taking such action outweigh

the best interest of the public and the defendant in a speedy trial.” 18 USC § 3161(h)(7).


       DATED this 16th day of July, 2024



                                             Respectfully submitted,

                                             /s Michelle Holman Kerin
                                             ANGELI LAW GROUP LLC
                                             DAVID H. ANGELI, OSB No. 020244
                                             MICHELLE HOLMAN KERIN, OSB No. 965278
                                             AMY E. POTTER, OSB No. 231794
                                             AMANDA A. THIBEAULT, OSB No. 132913
                                             Attorneys for Defendant Samuel Troy Landis




MOTION TO EXCLUDE TIME                                                                 Page 2 of 2
